Case 1:20-cv-00449-JDL Document 341 Filed 04/27/23 Page 1 of 2               PageID #: 1508




                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

NICHOLAS A. GLADU, et al.,                )
                                          )
       Plaintiffs                         )
                                          )
v.                                        )       1:20-cv-00449-JDL
                                          )
MAINE DEPARTMENT OF                       )
CORRECTIONS, et al.,                      )
                                          )
                     Defendants           )


                           ORDER ON PENDING MOTIONS

       Plaintiff Gladu recently filed several motions. He asks for a settlement conference

(ECF No. 334), that the court provide Plaintiff Hardy with notice of his motion (ECF No.

334), and that the Court stay further proceedings or, alternatively, extend the deadline for

him to file an amended complaint. (ECF No. 340.)

       In support of his request for a settlement conference, Plaintiff represents that he is

likely to move for voluntary dismissal of the complaint. In response to the request, the

State Defendants identify some legitimate concerns regarding a potential in-person

settlement conference. (Response, ECF No. 338.) The State Defendants, however, are not

opposed to discussing with Plaintiffs the possible dismissal of the case.

       Following a review of the motions and after consideration of the relevant issues, the

Court grants in part Plaintiff’s motions as follows:

       1. The clerk shall forward to Plaintiff Hardy a copy of Plaintiff Gladu’s motion for

          settlement conference.
Case 1:20-cv-00449-JDL Document 341 Filed 04/27/23 Page 2 of 2              PageID #: 1509




      2. Subject to the security and safety protocols of the Maine State Prison, the State

          Defendants shall arrange for a videoconference of the parties to discuss the

          possible resolution of the case. Plaintiffs, counsel for the State Defendants, and

          counsel for the Wellpath Defendants shall participate in the conference. On or

          before May 19, 2023, the parties shall complete the conference and notify the

          court whether the matter will be dismissed.

      3. If the conference does not result in the dismissal of the action, Plaintiff Gladu

          shall file his amended complaint on or before June 2, 2023. Plaintiff’s amended

          complaint shall be limited to the claims permitted by the Court. (See EFC Nos.

          196, 300.) The request for a stay is denied.

      4. Because the Court has extended the deadline for Plaintiff Gladu to file his

          amended complaint, the Court believes Plaintiff’s objection to the Court’s prior

          order (Objection, ECF No. 339) is moot. Unless Plaintiff Gladu informs the

          Court to the contrary on or before May 12, 2023, the Court will dismiss the

          objection as moot.

                                        NOTICE

      Any objections to this Order shall be filed in accordance with Federal Rule of Civil
Procedure 72.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

Dated this 27th day of April, 2023.



                                             2
